
In re Irving Jr., Alvin; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Tangipahoa, 21st Judicial District Court Div. G, Nos. 97437, 503762; *595to the Court of Appeal, First Circuit, No. 2010 KW 0350.
Writ granted in part; case remanded to the district court. The district court’s order vacating the state’s Motion to Dismiss and reinstating relator’s conviction and sentence effectively returns the case to the procedural posture it had assumed before the state erroneously filed its motion. Cf. La.C.Cr.P. art. 692. In accord with the minutes of October 14, 2009, which reflect the court’s initial appointment of counsel to represent relator on his habeas corpus claims before the state filed its erroneous Motion to Dismiss, the district court is ordered to (re)appoint counsel for relator and to schedule a hearing to consider the validity of the Petition for Habeas Corpus Relief. In all other respects, the application is denied.
